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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA



  IN RE: CENTURYLINK SALES                      MDL No. 17-2795 (MJD/KMM)
  PRACTICES AND SECURITIES
  LITIGATION

   This Document Relates to:
   Civil Action No. 18-296 (MJD/KMM)


         ORDER PRELIMINARILY APPROVING SETTLEMENT
   AND AUTHORIZING DISSEMINATION OF NOTICE OF SETTLEMENT
               PURSUANT TO FED. R. CIV. P. 23(e)(1)

      WHEREAS, a consolidated securities class action is pending in this Court entitled

In re: CenturyLink Sales Practices and Securities Litigation, Civil Action No. 18-296

(MJD/KMM) (the “Action”);

      WHEREAS, (a) Lead Plaintiff and Class Representative the State of Oregon by

and through the Oregon State Treasurer and the Oregon Public Employee Retirement

Board, on behalf of the Oregon Public Employee Retirement Fund, and named plaintiff

and Class Representative Fernando Alberto Vildosola, as trustee for the AUFV Trust

U/A/D 02/19/2009 (collectively, “Plaintiffs”), on behalf of themselves and the class

certified by the Court in its Memorandum of Law & Order dated September 14, 2020 (the

“Class,” as defined below); and (b) defendants CenturyLink, Inc. (“CenturyLink”), Glen

F. Post, III, R. Stewart Ewing, Jr., David D. Cole, Karen Puckett, Dean J. Douglas, and

G. Clay Bailey (collectively, “Defendants”) (Plaintiffs and Defendants, together, the
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“Parties”), have determined to settle all claims asserted against Defendants in this Action

with prejudice on the terms and conditions set forth in the Stipulation and Agreement of

Settlement dated January 29, 2021 (the “Stipulation”) subject to approval of this Court

(the “Settlement”);

       WHEREAS, Plaintiffs have made a motion, pursuant to Rule 23(e)(1) of the

Federal Rules of Civil Procedure, for an order preliminarily approving the Settlement in

accordance with the Stipulation and allowing notice to Class Members as more fully

described herein;

       WHEREAS, the Court has read and considered: (a) Plaintiffs’ motion for

preliminary approval of the Settlement and authorization to send notice of the Settlement

to the Class, and the papers filed and arguments made in connection therewith; and

(b) the Stipulation and the exhibits attached thereto; and

       WHEREAS, unless otherwise defined herein, all capitalized words contained

herein shall have the same meanings as they have in the Stipulation;

       NOW THEREFORE, PURSUANT TO FED. R. CIV. P. RULE 23(e)(1), IT IS

HEREBY ORDERED:

       1.     The Certified Class – The “Class” means the class certified in the Court’s

Memorandum of Law & Order dated September 14, 2020, consisting of all persons and

entities that purchased or otherwise acquired publicly traded CenturyLink common stock

or 7.60% Senior Notes due September 15, 2039 (“7.60% Notes”) during the period from

March 1, 2013 through July 12, 2017, inclusive (the “Class Period”), and who were

damaged thereby. Excluded from the Class are CenturyLink’s affiliates and subsidiaries;

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the Officers and directors of CenturyLink and its subsidiaries and affiliates at all relevant

times; members of the Immediate Family of any excluded person; heirs, successors, and

assigns of any excluded person or entity; and any entity in which any excluded person

has or had a controlling interest. Also excluded from the Class are any persons and

entities who or which exclude themselves by submitting a request for exclusion that is

accepted by the Court.

       2.     Preliminary Approval of the Settlement – The Court hereby

preliminarily approves the Settlement, as embodied in the Stipulation, and finds, pursuant

to Rule 23(e)(1)(B)(i) of the Federal Rules of Civil Procedure, that it will likely be able to

finally approve the Settlement under Rule 23(e)(2) as being fair, reasonable, and adequate

to the Class, subject to further consideration at the Settlement Fairness Hearing to be

conducted as described below.

       3.     Settlement Fairness Hearing – Pursuant to Rule 23(e)(2) of the Federal

Rules of Civil Procedure, the Court will hold a hearing (the “Settlement Fairness

Hearing”) on July 20, 2021 at 11:00 a.m., either in person at the United States District

Court for the District of Minnesota, Courtroom 13E of the Diana E. Murphy United

States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, or by telephone or

video conference (in the discretion of the Court), for the following purposes: (a) to

determine whether the proposed Settlement on the terms and conditions provided for in

the Stipulation is fair, reasonable, and adequate to the Class, and should be finally

approved by the Court; (b) to determine whether a Judgment substantially in the form

attached as Exhibit B to the Stipulation should be entered dismissing the Action with

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prejudice against Defendants; (c) to determine whether the proposed Plan of Allocation

for the proceeds of the Settlement is fair and reasonable and should be approved; (d) to

determine whether the motion by Lead Counsel for an award of attorneys’ fees and

Litigation Expenses should be approved; and (e) to consider any other matters that may

properly be brought before the Court in connection with the Settlement. Notice of the

Settlement and the Settlement Fairness Hearing shall be given to Class Members as set

forth in paragraph 5 of this Order.

       4.     The Court may adjourn the Settlement Fairness Hearing without further

notice to the Class, and may approve the proposed Settlement with such modifications as

the Parties may agree to, if appropriate, without further notice to the Class. The Court

may decide to hold the Settlement Fairness Hearing by telephone or video conference

without further mailed notice to the Class.    If the Court orders that the Settlement

Fairness Hearing be conducted telephonically or by video conference, that decision will

be posted on a website to be developed for the Settlement as referenced in paragraph 5(c)

of this Order. Any Class Member (or his, her, or its counsel) who wishes to appear at the

Settlement Fairness Hearing should consult the Court’s docket and/or the settlement

website for any change in date, time, or format of the hearing. Lead Counsel is ordered

to ensure that the Settlement website reflects then-current time, date, and format

information for the hearing.

       5.     Retention of Claims Administrator and Manner of Giving Notice –

Lead Counsel is hereby authorized to retain Epiq Class Action & Claims Solutions, Inc.

(the “Claims Administrator”) to supervise and administer the notice procedure in

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connection with the proposed Settlement as well as the processing of Claims as more

fully set forth below. Notice of the Settlement and the Settlement Fairness Hearing shall

be given by Lead Counsel as follows:

                (a)   not later than ten (10) business days after the date of entry of this

Order, CenturyLink shall, at no cost to the Settlement Fund, Lead Counsel, or the Claims

Administrator, provide or cause to be provided to the Claims Administrator in electronic

format its security lists containing names, mailing addresses, and, if available, email

addresses, of the purchasers of CenturyLink common stock or 7.60% Notes during the

Class Period;

                (b)   beginning not later than twenty (20) business days after the date of

entry of this Order (such date that is twenty (20) business days after the date of entry of

this Order, the “Notice Date”), the Claims Administrator shall cause a copy of the Notice

and the Claim Form, substantially in the forms attached hereto as Exhibits 1 and 2,

respectively (the “Notice Packet”), to be mailed by first-class mail or emailed to potential

Class Members at the addresses set forth in the records provided by CenturyLink or in the

records which CenturyLink caused to be provided, or who otherwise may be identified

through further reasonable effort;

                (c)   contemporaneously with the mailing of the Notice Packet, the

Claims Administrator shall cause copies of the Notice and the Claim Form to be posted

on a website to be developed for the Settlement, from which copies of the Notice and

Claim Form can be downloaded;



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              (d)    not later than ten (10) business days after the Notice Date, the

Claims Administrator shall cause the Summary Notice, substantially in the form attached

hereto as Exhibit 3, to be published once in the Investor’s Business Daily and to be

transmitted once over the PR Newswire; and

              (e)    not later than seven (7) calendar days prior to the Settlement

Fairness Hearing, Lead Counsel shall serve on Defendants’ Counsel and file with the

Court proof, by affidavit or declaration, of such mailing and publication.

       6.     Approval of Form and Content of Notice – The Court (a) approves, as to

form and content, the Notice, the Claim Form, and the Summary Notice, attached hereto

as Exhibits 1, 2, and 3, respectively, and (b) finds that the mailing and distribution of the

Notice and Claim Form and the publication of the Summary Notice in the manner and

form set forth in paragraph 5 of this Order (i) is the best notice practicable under the

circumstances; (ii) constitutes notice that is reasonably calculated, under the

circumstances, to apprise Class Members of the pendency of the Action, of the effect of

the proposed Settlement (including the Releases to be provided thereunder), of Lead

Counsel’s motion for an award of attorneys’ fees and Litigation Expenses, of their right

to object to the Settlement, the Plan of Allocation, and/or Lead Counsel’s motion for

attorneys’ fees and Litigation Expenses, of their right to exclude themselves from the

Class, and of their right to appear at the Settlement Fairness Hearing; (iii) constitutes due,

adequate, and sufficient notice to all persons and entities entitled to receive notice of the

proposed Settlement; and (iv) satisfies the requirements of Rule 23 of the Federal Rules

of Civil Procedure, the United States Constitution (including the Due Process Clause), the

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Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and all

other applicable law and rules. The date and time of the Settlement Fairness Hearing

shall be included in the Notice and Summary Notice before they are mailed and

published, respectively.

       7.       Nominee Procedures – Brokers and other nominees who purchased or

otherwise acquired publicly traded CenturyLink common stock and/or publicly traded

CenturyLink 7.60% Notes during the Class Period for the benefit of another person or

entity shall: (a) within seven (7) calendar days of receipt of the Notice, request from the

Claims Administrator sufficient copies of the Notice Packet to forward to all such

beneficial owners, and within seven (7) calendar days of receipt of those Notice Packets

forward them to all such beneficial owners; or (b) within seven (7) calendar days of

receipt of the Notice, send a list of the names, mailing addresses, and, if available, email

addresses, of all such beneficial owners to the Claims Administrator in which event the

Claims Administrator shall promptly mail or email the Notice Packet to such beneficial

owners. Upon full compliance with this Order, such nominees may seek payment of their

reasonable expenses actually incurred in complying with this Order by providing the

Claims Administrator with proper documentation supporting the expenses for which

reimbursement is sought. Such properly documented expenses incurred by nominees in

compliance with the terms of this Order shall be paid from the Settlement Fund, with any

disputes as to the reasonableness or documentation of expenses incurred subject to review

by the Court.



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       8.     CAFA Notice – As provided in the Stipulation, Defendants shall serve the

notice required under the Class Action Fairness Act, 28 U.S.C. § 1715, et seq. (“CAFA”)

no later than ten (10) calendar days following the filing of the Stipulation with the Court.

Defendants are solely responsible for the costs of the CAFA notice and administering the

CAFA notice. No later than seven (7) calendar days before the Settlement Fairness

Hearing, Defendants shall cause to be served on Lead Counsel and filed with the Court

proof, by affidavit or declaration, regarding compliance with the notice requirements of

CAFA.

       9.     Participation in the Settlement – Class Members who wish to participate

in the Settlement and to be eligible to receive a distribution from the Net Settlement Fund

must complete and submit a Claim Form in accordance with the instructions contained

therein. Unless the Court orders otherwise, all Claim Forms must be submitted no later

than one hundred twenty (120) calendar days after the Notice Date. Notwithstanding the

foregoing, Lead Counsel may, at its discretion, accept for processing late Claims

provided such acceptance does not delay the distribution of the Net Settlement Fund to

the Class. By submitting a Claim, a person or entity shall be deemed to have submitted

to the jurisdiction of the Court with respect to his, her, or its Claim and the subject matter

of the Settlement.

       10.    Each Claim Form submitted must satisfy the following conditions: (a) it

must be properly completed, signed, and submitted in a timely manner in accordance

with the provisions of the preceding paragraph; (b) it must be accompanied by adequate

supporting documentation for the transactions and holdings reported therein, in the form

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of broker confirmation slips, broker account statements, an authorized statement from the

broker containing the transactional and holding information found in a broker

confirmation slip or account statement, or such other documentation as is deemed

adequate by Lead Counsel or the Claims Administrator; (c) if the person executing the

Claim Form is acting in a representative capacity, a certification of his, her, or its current

authority to act on behalf of the Class Member must be included in the Claim Form to the

satisfaction of Lead Counsel or the Claims Administrator; and (d) the Claim Form must

be complete and contain no material deletions or modifications of any of the printed

matter contained therein and must be signed under penalty of perjury.

       11.    Any Class Member that does not timely and validly submit a Claim Form

or whose Claim is not otherwise approved by the Court: (a) shall be deemed to have

waived his, her, or its right to share in the Net Settlement Fund; (b) shall be forever

barred from participating in any distributions therefrom; (c) shall be bound by the

provisions of the Stipulation and the Settlement and all proceedings, determinations,

orders, and judgments in the Action relating thereto, including, without limitation, the

Judgment or Alternate Judgment, if applicable, and the Releases provided for therein,

whether favorable or unfavorable to the Class; and (d) will be barred from commencing,

maintaining, or prosecuting any of the Released Plaintiffs’ Claims against each and all of

the Defendants’ Releasees, as more fully described in the Stipulation and Notice.

Notwithstanding the foregoing, late Claim Forms may be accepted for processing as set

forth in paragraph 9 above.



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       12.    Exclusion From the Class – Any member of the Class who wishes to

exclude himself, herself, or itself from the Class must request exclusion in writing within

the time and in the manner set forth in the Notice, which shall provide that: (a) any such

request for exclusion from the Class must be mailed or delivered such that it is received

no later than twenty-one (21) calendar days prior to the Settlement Fairness Hearing, to:

CenturyLink Securities Litigation, EXCLUSIONS, c/o Epiq, P.O. Box 2588, Portland,

OR 97208-2588, and (b) each request for exclusion must (i) state the name, address, and

telephone number of the person or entity requesting exclusion, and in the case of entities,

the name and telephone number of the appropriate contact person; (ii) state that such

person or entity “requests exclusion from the Class in In re: CenturyLink Sales Practices

and Securities Litigation, Civil Action No. 18-296 (MJD/KMM)”; (iii) state the number

of shares of publicly traded CenturyLink common stock and/or the face value of publicly

traded CenturyLink 7.60% Senior Notes that the person or entity requesting exclusion

(A) owned as of the opening of trading on March 1, 2013 and (B) purchased/acquired

and/or sold during the Class Period (i.e., from March 1, 2013 through July 12, 2017,

inclusive), including the dates, number of shares/face value, and prices of each such

purchase/acquisition and sale; and (iv) be signed by the person or entity requesting

exclusion or an authorized representative. A request for exclusion shall not be effective

unless it provides all the required information and is received within the time stated

above, or is otherwise accepted by the Court. Lead Counsel is authorized to request from

any person or entity requesting exclusion additional transaction information or



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documentation sufficient to prove his, her, or its holdings and trading in CenturyLink

common stock and/or CenturyLink 7.60% Senior Notes.

        13.   Any person or entity who or which timely and validly requests exclusion in

compliance with the terms stated in this Order and is excluded from the Class shall not be

a Class Member, shall not be bound by the terms of the Settlement or any orders or

judgments in the Action, and shall not receive any payment out of the Net Settlement

Fund.

        14.   Any Class Member who or which does not timely and validly request

exclusion from the Class in the manner stated in this Order: (a) shall be deemed to have

waived his, her, or its right to be excluded from the Class; (b) shall be forever barred

from requesting exclusion from the Class in this or any other proceeding; (c) shall be

bound by the provisions of the Stipulation and Settlement and all proceedings,

determinations, orders, and judgments in the Action, including, but not limited to, the

Judgment or Alternate Judgment, if applicable, and the Releases provided for therein,

whether favorable or unfavorable to the Class; and (d) will be barred from commencing,

maintaining, or prosecuting any of the Released Plaintiffs’ Claims against any of the

Defendants’ Releasees, as more fully described in the Stipulation and Notice.

        15.   Appearance and Objections at Settlement Fairness Hearing – Any

Class Member who or which does not request exclusion from the Class may enter an

appearance in the Action, at his, her, or its own expense, individually or through counsel

of his, her, or its own choice, by filing with the Clerk of Court and delivering a notice of

appearance to both Lead Counsel and Defendants’ Counsel, at the addresses set forth in

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paragraph 16 below, such that it is received no later than twenty-one (21) calendar days

prior to the Settlement Fairness Hearing, or as the Court may otherwise direct. Any Class

Member who or which does not enter an appearance will be represented by Lead

Counsel.

       16.    Any Class Member who or which does not request exclusion from the Class

may file a written objection to the proposed Settlement, the proposed Plan of Allocation,

and/or Lead Counsel’s motion for an award of attorneys’ fees and Litigation Expenses

and appear and show cause, if he, she, or it has any cause, why the proposed Settlement,

the proposed Plan of Allocation, and/or Lead Counsel’s motion for attorneys’ fees and

Litigation Expenses should not be approved; provided, however, that no Class Member

shall be heard or entitled to contest the approval of the terms and conditions of the

proposed Settlement, the proposed Plan of Allocation, and/or the motion for attorneys’

fees and Litigation Expenses unless that person or entity has filed a written objection with

the Court and served copies of such objection on Lead Counsel and Defendants’ Counsel

at the addresses set forth below such that they are received no later than twenty-one (21)

calendar days prior to the Settlement Fairness Hearing.

                Lead Counsel                                 Defendants’ Counsel
Bernstein Litowitz Berger & Grossmann LLP                          Cooley LLP
           John C. Browne, Esq.                                 Patrick Gibbs, Esq.
 1251 Avenue of the Americas, 44th Floor                       3175 Hanover Street
           New York, NY 10020                                  Palo Alto, CA 94304
                     -and-
     Stoll Berne Lokting & Shlachter P.C.
            Timothy DeJong, Esq.
        209 SW Oak Street, Suite 500
              Portland, OR 97204

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Copies   of   the   objections   must    also    be   emailed   to   johnb@blbglaw.com,

tdejong@stollberne.com, and pgibbs@cooley.com no later than twenty-one (21) calendar

days prior to the Settlement Fairness Hearing.

      17.     Any objections, filings, and other submissions by the objecting Class

Member must identify the case name and civil action number, In re: CenturyLink Sales

Practices and Securities Litigation, Civil Action No. 18-296 (MJD/KMM), and they

must: (a) state the name, address, and telephone number of the person or entity objecting

and must be signed by the objector; (b) state with specificity the grounds for the Class

Member’s objection, including any legal and evidentiary support the Class Member

wishes to bring to the Court’s attention and whether the objection applies only to the

objector, to a specific subset of the Class, or to the entire Class; and (c) include

documents sufficient to prove membership in the Class, including documents showing the

number of shares of CenturyLink common stock and/or face value of CenturyLink 7.60%

Senior Notes that the objecting Class Member: (i) owned as of the opening of trading on

March 1, 2013 and (ii) purchased/acquired and/or sold during the Class Period (i.e., from

March 1, 2013 through July 12, 2017, inclusive), including the dates, number of

shares/face value, and prices of each such purchase/acquisition and sale. Documentation

establishing membership in the Class must consist of copies of brokerage confirmation

slips or monthly brokerage account statements, or an authorized statement from the

objector’s broker containing the transactional and holding information found in a broker

confirmation slip or account statement. Objectors who enter an appearance and desire to

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present evidence at the Settlement Fairness Hearing in support of their objection must

include in their written objection or notice of appearance the identity of any witnesses

they may call to testify and any exhibits they intend to introduce into evidence at the

hearing. Objectors who intend to appear at the Settlement Fairness Hearing through

counsel must also identify that counsel by name, address, and telephone number. It is

within the Court’s discretion to allow appearances at the Settlement Fairness Hearing

either in person or by telephone or video conference.

      18.     Any Class Member who or which does not make his, her, or its objection in

the manner provided herein shall be deemed to have waived his, her, or its right to object

to any aspect of the proposed Settlement, the proposed Plan of Allocation, and Lead

Counsel’s motion for an award of attorneys’ fees and Litigation Expenses and shall be

forever barred and foreclosed from objecting to the fairness, reasonableness, or adequacy

of the Settlement, the Plan of Allocation, or the requested attorneys’ fees and Litigation

Expenses, or from otherwise being heard concerning the Settlement, the Plan of

Allocation, or the requested attorneys’ fees and Litigation Expenses in this or any other

proceeding.

      19.     Stay and Temporary Injunction – Until otherwise ordered by the Court,

the Court stays all proceedings in the Action other than proceedings necessary to carry

out or enforce the terms and conditions of the Stipulation. Pending final determination of

whether the Settlement should be finally approved, the Court bars and enjoins Plaintiffs,

and all other members of the Class, from filing, commencing, prosecuting, maintaining,

intervening in, participating in (as a Class Members or otherwise), or receiving any

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benefits from, any class action or other lawsuit, arbitration, or administrative, regulatory,

or other proceeding in any jurisdiction, asserting Released Plaintiffs’ Claims against the

Defendants’ Releasees. The Court finds that issuance of this preliminary injunction is

necessary and appropriate in aid of the Court’s jurisdiction over this Action. The Court

finds no bond is necessary for issuance of this injunction. Also, for the avoidance of

doubt, this injunction does not apply to any member of the Class that submits a request

for exclusion from the Class that is accepted by the Court.

       20.    Settlement Administration Fees and Expenses – All costs incurred in

identifying Class Members and notifying them of the Settlement as well as in

administering the Settlement shall be paid as set forth in the Stipulation without further

order of the Court.

       21.    Settlement Fund – The contents of the Settlement Fund held by Citibank,

N.A. (which the Court approves as the Escrow Agent) shall be deemed and considered to

be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court,

until such time as they shall be distributed pursuant to the Stipulation and/or further

order(s) of the Court.

       22.    Taxes – Lead Counsel is authorized and directed to prepare any tax returns

and any other tax reporting form for or in respect to the Settlement Fund, to pay from the

Settlement Fund any Taxes owed with respect to the Settlement Fund, and to otherwise

perform all obligations with respect to Taxes and any reporting or filings in respect

thereof without further order of the Court in a manner consistent with the provisions of

the Stipulation.

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       23.    Termination of Settlement – If the Settlement is terminated as provided in

the Stipulation, the Settlement is not approved, or the Effective Date of the Settlement

otherwise fails to occur, this Order shall be vacated and rendered null and void, and shall

be of no further force and effect, except as otherwise provided by the Stipulation, and this

Order shall be without prejudice to the rights of Plaintiffs, the other Class Members, and

Defendants, and Plaintiffs and Defendants shall revert to their respective positions in the

Action as of immediately prior to the execution of the Term Sheet on November 19,

2020, as provided in the Stipulation.

       24.    Use of this Order – Neither this Order, the Term Sheet, the Stipulation

(whether or not consummated), including the exhibits thereto and the Plan of Allocation

contained therein (or any other plan of allocation that may be approved by the Court), the

negotiations leading to the execution of the Term Sheet and the Stipulation, nor any

proceedings taken pursuant to or in connection with the Term Sheet, the Stipulation,

and/or approval of the Settlement (including any arguments proffered in connection

therewith): (a) shall be offered against any of the Defendants’ Releasees as evidence of,

or construed as, or deemed to be evidence of any presumption, concession, or admission

by any of the Defendants’ Releasees with respect to the truth of any fact alleged by

Plaintiffs or the validity of any claim that was or could have been asserted or the

deficiency of any defense that has been or could have been asserted in this Action or in

any other litigation, or of any liability, negligence, fault, or other wrongdoing of any kind

of any of the Defendants’ Releasees or in any way referred to for any other reason as

against any of the Defendants’ Releasees, in any arbitration proceeding or other civil,

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criminal, or administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of the Stipulation; (b) shall be offered against any

of the Plaintiffs’ Releasees, as evidence of, or construed as, or deemed to be evidence of

any presumption, concession, or admission by any of the Plaintiffs’ Releasees that any of

their claims are without merit, that any of the Defendants’ Releasees had meritorious

defenses, or that damages recoverable under the Complaint would not have exceeded the

Settlement Amount or with respect to any liability, negligence, fault, or wrongdoing of

any kind, or in any way referred to for any other reason as against any of the Plaintiffs’

Releasees, in any arbitration proceeding or other civil, criminal, or administrative action

or proceeding, other than such proceedings as may be necessary to effectuate the

provisions of the Stipulation; or (c) shall be construed against any of the Releasees as an

admission, concession, or presumption that the consideration to be given under the

Settlement represents the amount which could be or would have been recovered after

trial; provided, however, that if the Stipulation is approved by the Court, the Parties and

the Releasees and their respective counsel may refer to it to effectuate the protections

from liability granted thereunder or otherwise to enforce the terms of the Settlement.

       25.    Supporting Papers – Lead Counsel shall file and serve the opening papers

in support of the proposed Settlement, the proposed Plan of Allocation, and Lead

Counsel’s motion for an award of attorneys’ fees and Litigation Expenses no later than

thirty-five (35) calendar days prior to the Settlement Fairness Hearing; and reply papers,

if any, shall be filed and served no later than seven (7) calendar days prior to the

Settlement Fairness Hearing.

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      26.    Jurisdiction – The Court retains jurisdiction to consider all further

applications arising out of or connected with the proposed Settlement.

      SO ORDERED this 18th day of March, 2021.




                                                      s/Michael J. Davis
                                                The Honorable Michael J. Davis
                                                  United States District Judge




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